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                       3
                           Attorney for Defendant
                       4 ETHAN STUART

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                       7                        UNITED STATES DISTRICT COURT

                       8                       EASTERN DISTRICT OF CALIFORNIA

                       9

                      10 UNITED STATES OF AMERICA,

                      11              Plaintiff,                    CR. S-12-0076 TLN

                      12        v.                                  STIPULATION AND ORDER
                                                                    CONTINUING STATUS CONFERENCE
                      13 SEAN FARRELL and ETHAN STUART,             AND EXCLUDING TIME
                                                                    Date: September 19, 2013
                      14              Defendants.                   Time: 9:30 a.m.
                                                            /
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                      16        Defendants SEAN FARRELL and ETHAN STUART, by and through

                      17 their attorneys, and plaintiff United States of America, by and

                      18 through its attorney, hereby stipulate and agree that the status

                      19 conference of September 19, 2013, at 9:30 a.m., should be

                      20 continued to December 19, 2013, at 9:30 a.m.

                      21        The parties are continuing to negotiate a settlement, and

                      22 require more time.

                      23        The parties agree to exclude time, based on the pendency of

                      24 the motions, pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(i) &

                      25 (iv) and Local Code T4, and the continuity of counsel, such that

                      26 the ends of justice served by granting such a continuance

                      27 outweigh the best interests of the public and the defendant in a
LAW OFFICES
506 BROADWAY          28 speedy trial because the failure to grant such a continuance
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                       1 would unreasonably deny the defendant continuity of counsel.

                       2        Accordingly, the parties stipulate and agree that time

                       3 should be excluded under the Speedy Trial Act pursuant to 18

                       4 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4.            The parties

                       5 stipulate that the ends of justice are served by the Court

                       6 excluding such time, so that counsel for each defendant may have

                       7 reasonable time necessary for effective preparation, taking into

                       8 account the exercise of due diligence and continuity of counsel.

                       9 The parties further stipulate and agree that time for trial

                      10 under the Speedy Trial Act be excluded pursuant to 18 U.S.C.

                      11 § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and T-4.

                      12        Dated: September 13, 2013

                      13
                            /s/ J. TONY SERRA                        /s/ RANDOLPH E. DAAR
                      14 J. TONY SERRA                              RANDOLPH E. DAAR
                           Attorney for ETHAN STUART                Attorney for SEAN FARRELL
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                                                                     /s/ JASON HITT
                      17                                            Assistant U.S. Attorney

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                       2                       UNITED STATES DISTRICT COURT

                       3                      EASTERN DISTRICT OF CALIFORNIA

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                       5 UNITED STATES OF AMERICA,

                       6               Plaintiff,                CR. S-12-0076 TLN

                       7        v.                               ORDER CONTINUING STATUS
                                                                 CONFERENCE
                       8 SEAN FARRELL and ETHAN STUART,

                       9               Defendants.
                                                           /
                      10

                      11        Pursuant to the stipulation of the parties and good cause

                      12 appearing, IT IS HEREBY ORDERED that:

                      13        1.     The status conference in this matter set for September

                      14 19, 2013, is continued, and a new status conference be set for

                      15 December 19, 2013, at 9:30 a.m.; and

                      16        3.     Based upon the representations and stipulation of the

                      17 parties, the Court finds that the time exclusion under 18 U.S.C.

                      18 § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the

                      19 best interest of the public and the defendants in a speedy

                      20 trial.      The parties further stipulate and agree that time for

                      21 trial under the Speedy Trial Act be excluded pursuant to 18

                      22 U.S.C. § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and

                      23 T-4.   Accordingly, time under the Speedy Trial Act shall be

                      24 excluded from September 19, 2013 up to and including December

                      25 19, 2013.

                      26        IT IS SO ORDERED.

                      27        Dated:September 16, 2013
LAW OFFICES
506 BROADWAY          28                                            Troy L. Nunley
SAN FRANCISCO
  (415) 986-5591                                                    United States District Judge
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